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                                                                September 8, 2023

  By ECF

  The Honorable Taryn A. Merkl
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201


                 Re:     Trooper 1 v. Cuomo, et al.; Case No. 22-cv-00893 (LDH) (TAM)

  Dear Judge Merkl:

                This firm represents non-parties Virginia Limmiatis and Alyssa
  McGrath, who have been targeted by Defendant Cuomo with deposition and
  document subpoenas served on March 31, 2023. We write to request a pre-motion
  conference or, in the alternative, a briefing schedule for our clients’ forthcoming
  motion to quash the subpoenas, or in the alternative for a protective order.1 We had
  hoped to present the disputes concerning the subpoenas to our clients in a joint
  letter to the Court, but defense counsel withdrew their agreement to proceed in that
  manner and has informed us that they will be unilaterally moving to compel our
  clients’ further compliance with the subpoenas, possibly in Albany.

               We have tried for months to reasonably work with Defendant’s counsel
  to respond to the subpoenas – within reason and without imposing an undue and
  disproportionate burden on our clients whose only connection to this lawsuit is that
  they courageously came forward to share their experiences of harassment by
  Defendant Cuomo. We interposed timely responses and objections, we have made
  multiple document productions, and we have engaged in multiple meet-and-confer
  conversations with defense counsel. Notwithstanding those efforts, Defendant
  Cuomo appears committed to further punishing and harassing our non-party clients
  by subjecting them to unnecessary, invasive, and burdensome discovery. His
  aggressive position regarding the subpoenas to Ms. Limmiatis and Ms. McGrath is
  all the more offensive given that he seeks to compel these non-parties’ compliance


  1 This letter does not purport to enumerate every argument our clients will present in their putative

  motion to quash; rather, we seek to preview the discovery disputes that require the Court’s attention
  and to request a briefing schedule for such motion practice.
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  while he himself appears to refuse to fulfill his discovery obligations as a party to
  this litigation, he has stated an intention to seek to strike allegations relating to our
  clients’ own prior harassment by Defendant Cuomo, and motion practice is
  underway concerning the potential adjournment of non-party discovery until
  Defendant Cuomo sits for his deposition.

                The subpoenas served on Ms. Limmiatis and Ms. McGrath are overly
  broad and seek information and testimony that is entirely irrelevant to the claims
  and defenses in this case. Moreover, in addition to the irrelevance of their
  testimony, there is no need to depose Ms. Limmiatis and Ms. McGrath2 because
  they each provided extensive video testimony to the Office of the Attorney General
  during the course of its investigation into multiple sexual harassment allegations
  against Defendant Cuomo, all of which is available to Defendant Cuomo. It would
  be especially burdensome to require our clients to testify again about the
  harassment Defendant Cuomo subjected them to and about which they bravely
  came forward and spoke about years ago. They have not as of yet pursued legal
  action against Defendant Cuomo, and we believe the Court should exercise its
  inherent authority to limit harassing and unnecessary discovery.

                It would be unfair and disproportionate to the needs of this case to
  subject our clients to further harassment by Defendant Cuomo in the form of
  compelled burdensome additional document discovery and compelled deposition
  testimony at all, much less before he has himself sat for a deposition and while
  questions remain as to whether our clients’ information and testimony will be
  deemed to be relevant or necessary in this litigation.

                                                  ***

                We thank the Court for its attention to this matter, and remain
  available to provide additional information or answer any questions the Court may
  have.

                                                         Respectfully submitted,



                                                         Mariann Meier Wang
                                                         Alice G. Reiter

  cc: All counsel of record




  2 We note that defense counsel has agreed to conduct Ms. Limmiatis’s potential deposition via Zoom,

  but has steadfastly insisted on subjecting Ms. McGrath to an in-person deposition for no justifiable
  reason.
